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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

BRANDON CASH                                                                     PLAINTIFF

v.                                 No. 4:16CV00884 JLH

PORTFOLIO RECOVERY ASSOCIATES, LLC                                            DEFENDANT


                      ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiff’s motion to dismiss is GRANTED. Document #6. This matter is hereby dismissed

with prejudice.

       IT IS SO ORDERED this 26th day of January, 2017.




                                          J. LEON HOLMES
                                          UNITED STATES DISTRICT JUDGE
